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12   Lead Counsel for Lead Plaintiff Stadium
     Capital LLC, Plaintiff David Sherman and the
13   Proposed Class
14                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
15                                      SAN JOSE DIVISION
16
     ASIF MEHEDI, Individually and on Behalf of All             Case No.: 5:21-cv-06374-BLF
17   Others Similarly Situated,
                                                                CLASS ACTION
18                               Plaintiff,
                                                                DECLARATION OF
19         v.                                                   LAURENCE D. KING IN SUPPORT
                                                                OF LEAD PLAINTIFF’S REQUEST
20   VIEW, INC. f/k/a CF FINANCE ACQUISITION                    FOR JUDICIAL NOTICE OF
     CORP. II, RAO MULPURI, VIDUL PRAKASH,                      NEWLY-AVAILABLE
21   HOWARD W. LUTNICK, PAUL PION, ALICE                        INFORMATION
     CHAN, ANSHU JAIN, ROBERT J.
22   HOCHBERG, CHARLOTTE S. BLECHMAN,                           Judge:     Hon. Beth L. Freeman
     CF FINANCE HOLDINGS II, LLC, CANTOR                        Courtroom: 3, 5th Floor
23   FITZGERALD & CO., CANTOR FITZGERALD,
     L.P., AND CF GROUP MANAGEMENT, INC.,
24
                                 Defendants.
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                                                                                    Case No. 5:21-cv-06374-BLF
                DECL. OF LAURENCE D. KING IN SUPP. OF LEAD PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
      Case 5:21-cv-06374-BLF Document 191-2 Filed 12/15/23 Page 2 of 2



 1          I, Laurence D. King, declare as follows:
 2          1.        I am a partner at the law firm of Kaplan Fox & Kilsheimer LLP (“Kaplan Fox”),
 3   counsel for Lead Plaintiff Stadium Capital LLC, Plaintiff David Sherman, and the proposed class,
 4   in the above-captioned action. I have personal knowledge of the facts stated in this Declaration
 5   and, if called a witness, I could and would testify competently to them.
 6          2.        Attached as Exhibit 1 is a true and correct copy of the derivative complaint filed in
 7   Siseles v. Lutnick, et al., Case No. 2023-1152-JTL, Verified Class Action Complaint, ECF No. 9
 8   (Del. Ch. Nov. 20, 2023).
 9          I declare under penalty of perjury under the laws of the United States that the foregoing is
10   true and correct.
11          Executed this 15th day of December, 2023 at Oakland, California.
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                                                               /s/ Laurence D. King
13                                                                 Laurence D. King
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                 DECL. OF LAURENCE D. KING IN SUPP. OF LEAD PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
